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 1   [Counsel on signature page]

 2                             UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                                      SAN JOSE DIVISION

 5   CONCORD MUSIC GROUP, INC., ET AL.,               Case Number: 5:24-cv-03811-EKL-SVK

 6         Plaintiffs,                                JOINT DISCOVERY DISPUTE
                                                      STATEMENT REGARDING
 7         v.                                         PUBLISHERS’ CHALLENGES TO
 8   ANTHROPIC PBC,                                   ANTHROPIC’S CONFIDENTIALITY
                                                      DESIGNATIONS
 9         Defendant.
                                                      REDACTED
10
                                                      Judge Eumi K. Lee
11                                                    Magistrate Judge Susan van Keulen
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                                                                       Case No. 5:24-cv-03811-EKL-SVK
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 1          Pursuant to Section VI of the Stipulated Protective Order (“Protective Order”), ECF No.

 2   293, Section 8 of Magistrate Judge van Keulen’s Civil Standing Order, and L.R. 37-1 and 37-2,

 3   Plaintiffs (“Publishers”) and Defendant Anthropic PBC (“Anthropic”) respectfully submit this

 4   Joint Discovery Dispute Statement. The Parties seek the Court’s intervention in resolving a dispute

 5   arising from Anthropic’s confidentiality designations of various documents and Publishers’

 6   challenges to those designations as overbroad and improper. The Parties’ lead counsel met and

 7   conferred to try to resolve this dispute via videoconference on April 11, 2025 and by email.

 8   However, the Parties have been unable to reach agreement. The current fact discovery deadline is

 9   129 days away. As a compromise, Publishers propose that Anthropic remove the blanket “Highly

10   Confidential—Attorneys’ Eyes Only” (“HC-AEO”) designation it has applied across its entire

11   production of Claude prompts and output, and re-designate only those documents that meet the

12   Protective Order’s standards; as to the other challenged documents, Publishers cannot offer a

13   compromise, given the lack of a basis for Anthropic’s HC-AEO designations. Anthropic proposes

14   that it will de-designate all prompts and outputs initiated by Plaintiffs or their agents as public and

15   will consider de-designations of specific portions of third-party prompts and outputs, so long as

16   those portions do not risk publicly revealing the user’s identity or any other of his private details.

17   As to the other challenged documents, Anthropic cannot offer a compromise. Anthropic

18   respectfully requests that any hearing be sealed, in light of its position that this discovery is AEO.

19   I.     Publishers’ Position
20          Anthropic is abusing the Protective Order. It has designated 96% of the 13,189 documents

21   it has produced as “Highly Confidential—Attorneys’ Eyes Only.” Its grossly overbroad HC-AEO

22   deisgnations include (1) every single one of the 9,418 Claude prompt and output records it has

23   produced, regardless of whether any given record reflects any conceivably sensitive information;

24   (2) general Claude prompt and output figures, dating from 2023 and 2024, which pose no risk of

25   serious competitive harm to Anthropic; and (3) the fact that Anthropic used two common AI

26   training datasets to train Claude, which likewise poses no risk of serious harm. Anthropic’s mass
27   over-designation flouts the law, violates the Protective Order, and unfairly prejudices Publishers.

28          Anthropic’s “[p]retrial discovery is presumptively public,” Doe 1 v. Wolf, 2020 WL
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 1   Anthropic’s commitment to keep its users’ information confidential. 7 See Humboldt Baykeeper v.

 2   Union Pac. R. Co., 244 F.R.D. 560, 563 (N.D. Cal. 2007) (protective orders may address

 3   “unintended but harmful collateral consequences,” like the “inadvertent invasion of non-parties’

 4   rights of privacy”). This Court already determined that Anthropic’s users have privacy interests

 5   that “are not extinguished simply because Anthropic advises it ‘may’ disclose certain personal data

 6   to third parties.” Dkt. 318 at 4. And courts in this District have maintained confidentiality for

 7   analogous private user data. See Ubiquiti Networks, Inc. v. Kozumi USA Corp., 2013 WL

 8   12212698, at *2 (N.D. Cal. Feb. 25, 2013) (documents containing specific customer information

 9   “may be designated as confidential.”); see also Gonzalez v. Google, Inc., 234 F.R.D. 674, 687

10   (N.D. Cal. 2006) (raising, sua sponte, concerns regarding user privacy in “the text of search

11   queries,” which “may constitute potentially sensitive information”). Plaintiffs’ own authority is in

12   accord. Rodman, 2013 WL 12320765 at *2 (“much of the material proposed to be sealed is internal

13   information not otherwise made available to the public regarding . . . customer data.”).

14           Plaintiffs incorrectly suggest that Anthropic is treating these documents as HC-AEO solely

15   to avoid “negative publicity” regarding Claude’s potential reproduction of song lyrics. But

16   Anthropic has never denied that Plaintiffs’ song lyrics have appeared in certain Claude outputs.

17   See, e.g., Dkt. 67 at 6-8; Dkt. 290. Moreover, Kadrey, No. 23-cv-03417 (N.D. Cal. 2025), Dkt.

18   373 addressed sealing internal Meta communications, not records in which a third party had an

19   interest. Plaintiffs’ reliance on McGhee, 2021 WL 2577159 at *10, is misplaced for analogous
20   reasons (defendant designated any documents not available on his public website confidential).

21           Anthropic has met its burden under the Protective Order by articulating a clear basis for

22   protection of these documents: Claude users expect them to be kept private. This argument does

23   not lose force merely because it applies equally to a large group of records. Indeed, it is “not

24   inherently improper” to designate “a large number of documents as confidential.” See O’Neil v.

25   City & Cnty. of S.F., 2021 WL 1736809, at *4 (N.D. Cal. May 3, 2021). And neither of the cases

26   7 See https://www.anthropic.com/legal/privacy (Anthropic “strive[s] to prioritize the protection of personal data,”

27   “comply with all applicable privacy laws,” and, by default, “will not use [its users’] Inputs or Outputs to train
     [its] models”); https://support.anthropic.com/en/articles/8325621-i-would-like-to-input-sensitive-data-into-
28   free-claude-ai-or-my-pro-max-accout-who-can-view-my-conversations (“Only a limited number of staff
     members have access to conversation data and they will only access this data for explicit business purposes.”).
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 1   Plaintiffs cite nor the Protective Order support wholesale de-designation here. Both Shenwick,

 2   2019 WL 1552293, at *2 and Knox, 2022 WL 2290686, at *37 concerned deposition transcripts,

 3   which are not a useful analogy to Claude prompts and outputs. Depositions are not conducted with

 4   a background expectation of privacy, and transcripts are vastly more practical to redact. Here, the

 5   chat logs Anthropic has produced so far total over 200,000 pages, with more to follow, making it

 6   impractical and burdensome to require line-by-line or even page-by-page designations, particularly

 7   given the baseline sensitivity of these documents. Dkt. 293 § V.1 (the parties should designate

 8   “only those parts of material” that qualify for protection “[t]o the extent practicable”). While

 9   Plaintiffs dubiously assure the Court they do not intend to disclose this material, they also assert

10   there is a “presumption of public access” to it, explicitly recognizing that Anthropic would be

11   unable to prevent public disclosure should the materials be de-designated.

12          Plaintiffs’ effort to de-designate all prompts and outputs in their entirety is not appropriate.

13   See Wolf, 2020 WL 2745266, at *3 (denying de-designation request because opposing counsel had

14   “full access to the designated material” as well as “a mechanism to obtain a document-specific

15   ruling[s]”). Anthropic is willing to work with Plaintiffs in good faith, as it did ahead of Plaintiffs’

16   filing of their amended complaint, to de-designate specific prompts and outputs where appropriate,

17   practical, and consistent with protecting users’ privacy interests.

18          B. Disclosing Claude Usage Metrics Would Cause Serious Competitive Harm

19          Plaintiffs seek to de-designate monthly metrics concerning the volume of Claude prompts
20   and outputs from September 2023 to November 2024. These metrics are closely guarded: like its

21   competitors in the AI market, Anthropic does not publicize them. See N.Y. Times Co. v. OpenAI,

22   23-cv-11195 (S.D.N.Y.), Dkt. 426 (sealing ChatGPT usage metrics (Dkt. 414)). De-designating

23   this proprietary information would give competitors and potential business partners unfair insights

24   into Anthropic’s business strategies relating to the relative importance of Anthropic’s consumer

25   and enterprise offerings, or insights into its market share relative to competitors. See In re Elec.

26   Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (sealing “business information that might harm
27   a litigant’s competitive standing”). Internal business data, particularly data that has been

28   “maintained in a confidential manner” is commercially sensitive and warrants highly confidential
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 2   Dated: May 5, 2025                            Respectfully submitted,

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                                      SIGNATURE ATTESTATION
 1

 2          Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
 3   document was obtained from all other signatories of this document. I declare under penalty of
 4   perjury that the foregoing is true and correct.
 5

 6    Dated: May 5, 2025                                            /s/ Timothy Chung
 7                                                                    Timothy Chung

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